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                           EXHIBIT B
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                           EXHIBIT C
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                            EXHIBIT D
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                            EXHIBIT E
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                           REDACTED
                             IN ITS
                           ENTIRETY
